Case 2:04-cr-20312-.]PI\/| Document 42 Filed 06/23/05 Page 1 of 2 Page|D 59

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IN THE UNITED STATES DISTRJCT COURT f_ l
FOR THE wESTERN merch 0F TENNESSEE 95 JL)H 24 r’ff »,- ~, 3
WESTERN DIVISION

 
 

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UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 04-20312-Ml

ARTHUR RUFFIN

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Defendant(S) )
)

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Report Date on Friday, June 24, 2005 at 9:00
a.m. Counsel for the defendant requested a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for Report
Date to Friday, July 22, 2005 at 9:00 a.m. with a trial date of Monday,
August l, 2005 at 9:30 a.m.

The period from July 15, 2005 through August 12, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel additional
time to prepare.

I'r rs so oRDERED this the §§ day of June, 2005.

J<wm‘@@

JON HIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

 

This document entered on the docket sheet h'l co 953
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UNITED sTATE DISTRIC COURT - W'"RNTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:04-CR-203 12 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

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Honorable S. Anderson
US DISTRICT COURT

